 Case: 1:12-cr-00134-CAB Doc #: 81 Filed: 10/09/12 1 of 3. PageID #: 420




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,                  :     CASE NO.       1:12CR134
                                           :
                     Plaintiff,            :     JUDGE LESLEY WELLS
                                           :
              v.                           :
                                           :     MAGISTRATE JUDGE
JAMES BYRGE,                               :     NANCY A. VECCHIARELLI
                                           :
                     Defendant.            :     REPORT & RECOMMENDATION



       Pursuant to General Order 99-49, this matter has been referred to United States

Magistrate Judge Nancy A. Vecchiarelli for purposes of receiving, on consent of the

parties, the defendant’s offer of a plea of guilty, conducting the colloquy prescribed by

Fed. R. Crim. P. 11, causing a verbatim record of the proceedings to be prepared,

referring the matter, if appropriate, for presentence investigation, and submitting a

Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered. The following, along with the transcript or

other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s

Report and Recommendation concerning the plea of guilty proffered by the defendant.

       1.     On October 9, 2012, the defendant, accompanied by counsel, proffered a

              plea of guilty to count 1 of the Indictment charging a violation of
Case: 1:12-cr-00134-CAB Doc #: 81 Filed: 10/09/12 2 of 3. PageID #: 421




           21 USC § 841(a)(1),(b)(1)(C), Conspiracy to Possess with Intent to

           Distribute Oxycodone, based upon the drug quantities set forth in the plea

           agreement, that is, 6.4 grams of Oxycodone. The Government agreed to

           dismiss Count 19 of the Indictment at the time of sentencing.

    2.     Prior to such proffer, the defendant was examined as to his competency,

           advised of the charge and consequences of conviction, informed that the

           Federal Sentencing Guidelines are advisory and the Court must consider

           them but the Court may impose any reasonable sentence authorized by

           law, notified of his rights, advised that he was waiving all his rights except

           the right to counsel and otherwise was provided with the information

           prescribed in Fed. R. Crim. P. 11.

    3.     The parties and counsel informed the court about the guilty plea; the

           undersigned was advised that, aside from the guilty plea notice as

           described or submitted to the court, no other commitments or promises

           have been made by any party, and no other agreements, written or

           unwritten, have been made between the parties.

    4.     The undersigned questioned the defendant under oath about the knowing,

           intelligent, and voluntary nature of the plea of guilty, and finds that the

           defendant was competent to enter a plea and the plea was offered

           knowingly, intelligently, and voluntarily.

    5.     The parties provided the undersigned with sufficient information about the

           charged offense(s) and the defendant’s conduct to establish a factual

           basis for the plea.

                                           2
 Case: 1:12-cr-00134-CAB Doc #: 81 Filed: 10/09/12 3 of 3. PageID #: 422




       In light of the foregoing and the record submitted herewith, the undersigned finds

that the defendant’s plea was knowing, intelligent, and voluntary, and all requirements

imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.

Therefore, the undersigned recommends that the plea of guilty be accepted and a

finding of guilty be entered by the Court.



                                             s/ Nancy A. Vecchiarelli
                                             NANCY A. VECCHIARELLI
                                             UNITED STATES MAGISTRATE JUDGE



DATE: October 9, 2012



                                      OBJECTIONS

      Any objections to this Report and Recommendation must be filed with the
Clerk of Courts within fourteen (14) days after being served with a copy of this
Report and Recommendation. Failure to file objections within the specified time
may waive the right to appeal the District Court’s order. See United States v.
Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474 U.S. 140 (1985),
reh’g denied, 474 U.S. 1111 (1986).




                                               3
